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                                                                          7                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   NUANCE COMMUNICATIONS, INC,
                                                                         11                  Plaintiff,                                 No. C 08-02912 JSW
United States District Court
                               For the Northern District of California




                                                                         12     v.
                                                                         13   ABBYY SOFTWARE HOUSE, ET AL.,                             ORDER SETTING BRIEFING
                                                                                                                                        SCHEDULE ON ABBYY
                                                                         14                  Defendants.                                SOFTWARE LLC’S MOTION
                                                                                                                                        FOR LEAVE TO AMEND
                                                                         15   AND ALL RELATED CASES.                                    INVALIDITY CONTENTIONS
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                                                                         17          This matter is set for a hearing on May 13, 2011 on Defendant Abbyy Software LLC’s
                                                                         18   motion for leave to amend invalidity contentions. The Court HEREBY ORDERS that an
                                                                         19   opposition to the motion shall be filed by no later than March 4, 2011 and a reply brief shall be
                                                                         20   filed by no later than March 11, 2011.
                                                                         21          If the Court determines that the matter is suitable for resolution without oral argument, it
                                                                         22   will so advise the parties in advance of the hearing date. If the parties wish to modify this
                                                                         23   schedule, they may submit for the Court’s consideration a stipulation and proposed order
                                                                         24   demonstrating good cause for any modification requested.
                                                                         25          IT IS SO ORDERED.
                                                                         26   Dated: February 18, 2011
                                                                                                                                        JEFFREY S. WHITE
                                                                         27                                                             UNITED STATES DISTRICT JUDGE
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